     Case 3:18-cv-00428-DMS-MDD Document 87 Filed 07/06/18 PageID.1811 Page 1 of 4




 1 CHAD A. READLER
   Acting Assistant Attorney General
 2 Civil Division
 3 WILLIAM C. PEACHEY
   Director, District Court Section
 4
   Office of Immigration Litigation
 5 WILLIAM C. SILVIS
   Assistant Director, District Court Section
 6
   Office of Immigration Litigation
 7 SARAH B. FABIAN
   Senior Litigation Counsel
 8
   District Court Section, Office of Immigration Litigation
 9 U.S. Department of Justice
   P.O. Box 868, Ben Franklin Station
10
   Washington, D.C. 20044
11 Phone: (202) 532-4824
   Fax: (202) 616-8962
12
   Email: Sarah.B.Fabian@usdoj.gov
13
   Attorneys for Federal Respondents
14
15                                 UNITED STATES DISTRICT COURT
16
                                SOUTHERN DISTRICT OF CALIFORNIA
17
18
     MS. L,, et al.                             Case No. 18cv428 DMS MDD
19
20                    Petitioner-Plaintiff,
                                                NOTICE OF APPEARANCE
21         vs.
22
   U.S. IMMIGRATION AND CUSTOMS
23 ENFORCEMENT, et al.,
24
                      Respondents-Defendants.
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     Case 3:18-cv-00428-DMS-MDD Document 87 Filed 07/06/18 PageID.1812 Page 2 of 4




 1 TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:
 2
 3          I, the undersigned attorney, enter my appearance as counsel for the Federal

 4 Respondents-Defendants in the above-captioned case. I certify that I am authorized to
 5
   practice under CivLR 83.3.c.3. I should receive all future Notices of Electronic Filings
 6
 7 relating to activity in this case at the following e-mail address:
 8                 scott.g.stewart@usdoj.gov
 9
      This notice is purely for the purpose of obtaining Notices of Electronic Filings in this case
10
11 and does not constitute a waiver of any defense or objection, including but not limited to
12 personal jurisdiction, sufficient process, sufficient process of service and proper venue.
13
         Please feel free to contact me should you have any questions regarding this notice.
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     Case 3:18-cv-00428-DMS-MDD Document 87 Filed 07/06/18 PageID.1813 Page 3 of 4




 1 DATED: July 6, 2018                  Respectfully submitted,
                                        CHAD A. READLER
 2                                      Acting Assistant Attorney General
 3                                      Civil Division
 4
                                        WILLIAM C. PEACHEY
 5                                      Director, District Court Section
                                        Office of Immigration Litigation
 6
 7                                      WILLIAM C. SILVIS
                                        Assistant Director, District Court Section
 8
                                        Office of Immigration Litigation
 9
                              BY:       /s/ Scott G. Stewart
10
                                        SCOTT G. STEWART, D.C. Bar. # 990396
11                                      Deputy Assistant Attorney General
                                        Civil Division, U.S. Department of Justice
12
                                        950 Pennsylvania Ave., N.W.
13                                      Washington, D.C. 20530
                                        Phone: (202) 307-6482
14
                                        Email: scott.g.stewart@usdoj.gov
15
                                        Attorneys for Defendants-Respondents
16
17
18
19
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21
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     Case 3:18-cv-00428-DMS-MDD Document 87 Filed 07/06/18 PageID.1814 Page 4 of 4




 1                                CERTIFICATE OF SERVICE
 2          I hereby certify that on July 6, 2018, I electronically filed the foregoing with the
 3
      Clerk for the United States District Court for the Southern District of California by using
 4
 5 the CM/ECF system. A true and correct copy of this motion has been served via the
 6
      Court’s CM/ECF system on all counsel of record.
 7
                                            _/s/ Scott G. Stewart
 8
                                            SCOTT G. STEWART
 9                                          U.S. Department of Justice
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